                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION
                                  No. 1:16-cv-96-DSC

CASEY KRIEGER,                         )
                                       )
                       Plaintiff,      )
                                       )
               v.                      )
                                       )                 ORDER
ANDREW SAUL,                           )
Commissioner of Social Security,       )
                                       )
                       Defendant.      )


       This action being submitted to the Court for an order upon Plaintiff’s showing that the

Commissioner of Social Security should pay the sum of $15,000.00 for attorney fees, representing

less than twenty-five per cent of Plaintiff’s accrued back benefits, to be paid from Plaintiff’s back

benefits pursuant to § 406(b) of the Social Security Act. It also appearing that upon receipt of the

406(b) fee, Plaintiff’s counsel shall pay to Plaintiff the lesser EAJA fee of $4,300.00.

       It is therefore ORDERED that the Commissioner of Social Security pay to Plaintiff’s

counsel, Charlotte W. Hall, the sum of $15,000.00, sent to her office at Arrowood and Hall, PLLC,

P.O. Box 58129, Raleigh, North Carolina 27658, and that Plaintiff’s counsel pay to Plaintiff the

sum of $4,300.00 and upon the payment of such sums, this case is dismissed with prejudice.

       SO ORDERED.
                                    Signed: October 18, 2020




         Case 1:16-cv-00096-DSC Document 23 Filed 10/19/20 Page 1 of 1
